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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

DOROTHY N. OLLIE,                                 §
    Plaintiff,                                    §
                                                  §
v.                                                §           Case No. 4:06-cv-069
                                                  §
PLANO INDEPENDENT SCHOOL                          §
DISTRICT,                                         §
     Defendant.                                   §

                   MEMORANDUM OPINION AND ORDER DENYING
                    DEFENDANT’S SECOND MOTION TO DISMISS

       Before the court are “Plano Independent School District’s Second Motion to Dismiss for

Plaintiff’s Failure to State a Claim” (de # 40) and “Plaintiff’s Response to Defendant’s Second

Motion to Dismiss for Failure to State a Claim” (de # 43). Having considered the Motion and the

briefing responsive thereto, the court is of the opinion that the Motion should be DENIED.

                                       I. BACKGROUND

       At issue in this lawsuit is Dorothy Ollie’s claim under the Age Discrimination in

Employment Act (“ADEA”) against the Plano Independent School District (“PISD”). Ollie claims,

among other actions taken against her, that, because of her age, PISD removed her “from her higher

level of teaching assignment” and struck her “leadership stipend without verbal or written notice.”

(Pl.’s Orig. Compl. ¶ 2.03.) Ollie alleges that she was removed from her “5th grade lead position,”

and that PISD took efforts to undermine her teaching so as to force her into early retirement. (Id. at

¶ 7.05.)

       In her Original Complaint, Ollie asserts causes of action for discrimination on the basis of

race and retaliation under Title VII, violation of Section 1983, intentional infliction of emotional

distress, breach of contract, and discrimination on the basis of age under the ADEA. (See generally
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Pl.’s Orig. Compl.) On March 27, 2007, the court signed an order dismissing Ollie’s Section 1983,

breach of contract, and intentional infliction of emotional distress claims with prejudice. Only

Ollie’s claims under Title VII and the ADEA remained.

       On April 3, 2007, a Report of Mediation was entered into the docket sheet, indicating that

the mediation resulted in a settlement of this lawsuit. One product of the mediation was a hand-

written settlement agreement outlining the terms of the agreement. However, when the parties

attempted to finalize the settlement with formal closing documents, they reached an impasse, and

the settlement collapsed. PISD attempted to enforce the hand-written agreement, and Ollie sought

to have it set aside as not representing a meeting of the minds between the parties. Upon

consideration of briefing submitted by both parties on the issue of the enforceability of the settlement

agreement as well as the arguments of counsel at a hearing on the matter, the court signed an order

on June 25, 2007 upholding the agreement as to Ollie’s Title VII claim. The court found, however,

that the agreement was unenforceable as to the ADEA claim because it lacked language required by

29 U.S.C. § 626(f)(1)(B) and (C). Thus, Ollie’s ADEA claim is still live, and it is the sole remaining

claim stated in Ollie’s Original Complaint.

                                     II. LEGAL STANDARD

       Motions to dismiss under Rule 12(b)(6) are disfavored and are rarely granted. Priester v.

Lowndes County, 354 F.3d 414, 418 (5th Cir. 2004). In passing on a Rule 12(b)(6) motion, a court

must accept all of the plaintiff’s allegations as true. Ballard v. Wall, 413 F.3d 510, 514 (5th Cir.

2005). A claim will survive an attack under Rule 12(b)(6) if it “may be supported by showing any

set of facts consistent with the allegations in the complaint.” Bell Atlantic Corp. v. Twombly,

__U.S.__, 127 S. Ct. 1955, 1969 (2007). In other words, a claim may not be dismissed based solely


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on a court’s supposition that the pleader is unlikely “to find evidentiary support for his allegations

or prove his claim to the satisfaction of the factfinder.” Id. at n.8. Although detailed factual

allegations are not required, a plaintiff must provide the grounds of its entitlement to relief beyond

mere “labels and conclusions”; “a formulaic recitation of the elements of a cause of action will not

do.” Id. at 1964-65. The complaint must be factually suggestive, so as to “raise a right to relief

above the speculative level,” Id. at 1965, and into the “realm of plausible liability.” Id. at 1966 n.5.

                              III. DISCUSSION AND ANALYSIS

       PISD moves the court to dismiss Ollie’s ADEA claim pursuant to Rule 12(b)(6) of the

Federal Rules of Civil Procedure. PISD’s Motion is based on two arguments. The first argument

is that Ollie has not pleaded the prima facie elements of an ADEA claim, warranting its dismissal.

The other argument is that Ollie has asked for categories of damages, each of which is not

contemplated by the ADEA. The argument continues that because none of the relief that Ollie seeks

is available to her, she has not adequately stated a claim for relief. Both arguments fail.

       At the heart of PISD’s first argument must be that Bell Atlantic overruled Swierkiewicz v.

Sorema, N.A., a unanimous 2002 Supreme Court case. Though PISD spends much time discussing

why it believes Ollie has not pled a prima facie case under Fifth Circuit authority, it makes only a

passing reference to why Ollie’s supposed failure would run afoul of Bell Atlantic. PISD claims that

because Ollie’s complaint lacks “even a formulaic recitation of” the prima facie elements, it must

be dismissed under Rule 12(b)(6). (Def.’s Mot. 11 n.6.) This court’s reading of Bell Atlantic differs

from PISD’s.

       Swierkiewicz squarely addressed the precise issue raised in the instant Motion. The plaintiff

in that case brought claims against his former employer under both Title VII and the ADEA. 534


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U.S. 506, 509 (2002). The Second Circuit Court of Appeals upheld the lower court’s 12(b)(6)

dismissal of the plaintiff’s claims because he did not allege the elements of a prima facie case

familiar to employment discrimination cases. See McDonnell Douglas Corp. v. Green, 411 U.S.

792, 802 (1973). Justice Thomas, writing for a unanimous Court, reversed the Second Circuit’s

decision, holding that the prima facie elements constitute an evidentiary standard, not a pleading

burden. Swierkiewicz, 534 U.S. at 510. Justice Thomas also pointed out that plaintiffs seeking to

proceed under a direct evidence theory of proof are not required to make out a prima facie case. Id.

at 511-12. Finally, the heightened pleading standard sought by both the Swierkiewicz defendant and

PISD was deemed to be in opposition to the pleading requirements in the Federal Rules of Civil

Procedure. Id. at 512; FED . R. CIV . P. 8(a)(2). The Court closed by noting that an employment

discrimination plaintiff need only give the defendant “fair notice of what [the plaintiff’s] claims are

and the grounds upon which they rest.” Swierkiewicz, 534 U.S. at 514. Thus, unless Bell Atlantic

can be seen as overruling Swierkiewicz, PISD’s first argument fails.

       Although Bell Atlantic has generated an ample amount of discussion, it is not clear how far,

if much at all, it departs from the previously accepted pleading standard. See, e.g., Iqbal v. Hasty,

490 F.3d 143, 155-58 (2nd Cir. 2007). Whatever the merits of that debate, luckily, Bell Atlantic is

explicit as to its application in the instant context. Swierkiewicz, cited numerous times in the

majority opinion, is perfectly viable in the wake of Bell Atlantic. The Court explained that its

reversal in Swierkiewicz was premised on what was essentially a heightened pleading standard

imposed by the Second Circuit. Bell Atlantic, 127 S. Ct. at 1973-74. The Court reiterated that such

a standard was improper, Id. at 1973 n.14, citing Swierkiewicz for that proposition. Thus, to the

extent that Bell Atlantic does change the pleading requirements in the federal courts, that change


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does not impose a requirement on employment discrimination plaintiffs to plead facts related to each

of the prima facie elements used in the McDonnell Douglas framework. Moreover, the cases have

been universal in the aftermath of Bell Atlantic in not requiring that a plaintiff plead prima facie facts

in the employment discrimination context. See, e.g., Lindsay v. Yates, 498 F.3d 434, 439-40 (6th Cir.

2007); Rafique v. City of Fort Worth, No. 4:06-CV-645-Y, 2007 WL 2791945, at *5 (N.D. Tex.

Sept. 27, 2007). It would also be folly to suppose that a unanimous Supreme Court precedent of

such recent vintage has been reduced to a mere artifact in the absence of a clear holding to that effect.

It is therefore immaterial at this stage whether Ollie has pled facts sufficient to make out a prima

facie case. Of course, if either party moves for summary judgment, consideration of prima facie

evidence will be crucial should Ollie choose to proceed on a circumstantial evidence theory. See Bell

Atlantic, 127 S. Ct. at 1983 (opinion of Stevens, J., dissenting).

        PISD next argues that Ollie does not seek any category of damages available to her under the

ADEA, warranting dismissal of her claim thereunder.              Ollie, for example, has prayed for

compensation for pain and suffering, emotional distress, and mental anguish. While it is well settled

that these types of damages are not recoverable under the ADEA, the court notes that they are simply

residue from Ollie’s other claims, which have been dismissed. Comm’r v. Schleier, 515 U.S. 323,

326 (1995).

        The relief available to a plaintiff under the ADEA is enumerated in 29 U.S.C. § 626(b). That

section states that the ADEA is to be enforced through 29 U.S.C. § 216(b), the remedies provision

of the Fair Labor Standards Act. Section 216(b) states that those who commit a violation “shall be

liable to the employee or employees affected in the amount of their unpaid minimum wages, or their

unpaid overtime compensation, as the case may be.” Ollie seeks actual damages and a declaratory


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judgment. Ollie’s actual damages would presumably consist of any difference in compensation

between what she would have received had she continued in her 5th grade lead teaching position and

what she receives in the position she currently occupies. PISD argues that Ollie is still employed as

a teacher and thus that she continues to draw the salary contractually guaranteed to her. PISD’s

argument is misplaced. While Ollie still is employed as a teacher, she has alleged that she has been

demoted to a less lucrative teaching position as a result of her age. Thus, even though Ollie

continues to receive remuneration from the School District, her claim is that, because of her age,

whatever amount she is currently receiving is less than the amount that she would be receiving had

PISD not discriminated against her on the basis of her age. No other measure of damages could fall

more squarely within the purview of the ADEA. See Julian v. City of Houston,314 F.3d 721, 728

(5th Cir. 2002). Ollie has requested relief that is among that available to the court should she prevail

on her ADEA claim. 29 U.S.C. §§ 626(b), 616(b) (2006).

                                         IV. CONCLUSION

        Based on the foregoing, the court concludes that Ollie’s complaint has given PISD the type

of “fair notice” required by the Supreme Court. Swierkiewicz, 534 U.S. at 514. Moreover, she has

stated her claim in detail sufficient “to raise [her] right to relief above the speculative level” and into

the realm of plausibility. Bell Atlantic, 127 S. Ct. at 1965. Therefore, the court is of the opinion that

PISD’s Motion should be, and hereby is, DENIED.

        IT IS SO ORDERED.

             .    SIGNED this the 20th day of March, 2008.




                                                              _______________________________
                                                              RICHARD A. SCHELL
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